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                   Exhibit F
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                                                                   Page 1

1                         UNITED STATES DISTRICT COURT
2                       FOR THE DISTRICT OF MASSACHUSETTS
3       LAUREN ROLLINS,
4                 Plaintiff,
5           vs.                       Civil Action No. 3:22-cv-30059
6       R STREET INSTITUTE,
7                 Defendant.
8       -------------------------------x
9
10
11                                    DEPOSITION OF
12                                LAUREN L. ROLLINS
13                             Wednesday, May 3, 2023
14                                     10:39 a.m.
15                               Jackson Lewis P.C.
16                                  75 Park Plaza
17                        Boston, Massachusetts 02116
18
19
20
21
22
23                              Laurie K. Langer, RPR
24


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                                                                   Page 2

1                                APPEARANCES
2
3       ON BEHALF OF THE PLAINTIFF(s):
4            BY:      Deborah McKenna, Esq.
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11      ON BEHALF OF THE DEFENDANT(s):
12           BY:      Benjamin R. Davis, Esq.
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24


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1                                INDEX OF EXAMINATION
2
3       WITNESS:      Lauren L. Rollins
4       EXAMINATION                                               PAGE NO.
5       By Mr. Davis                                                   4
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7                                  INDEX TO EXHIBITS
8       NO.             DESCRIPTION                               PAGE NO.
9       Exhibit 1       Résumé                                         53
10      Exhibit 2       MCAD Charge of Discrimination                  54
11      Exhibit 3       E-Mail Chain and Attached                      87
12                      Raise Request Memo
13      Exhibit 4       10/17/19 E-Mail to                           124
14                      Erica Schoder
15
16      (Original exhibits attached to original transcript)
17
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24


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1                            P R O C E E D I N G S

2

3

4                     MR. DAVIS:     So I don't know if the usual

5       stipulations in Connecticut are the same as

6       Massachusetts, but are you comfortable with all

7       objections, except as to form, being waived until the --

8                     MS. MCKENNA:      Yeah.

9                     MR. DAVIS:     Reserved until the time of

10      trial.    30 days to read and sign the transcript.          And

11      waiving notary.

12                    MS. MCKENNA:      Yes, to all three of those.

13

14                            LAUREN L. ROLLINS,

15      having been satisfactorily identified by the production

16      of her driver's license, and duly sworn by the Notary

17      Public, was examined and testified as follows:

18

19

20                                 EXAMINATION

21

22      BY MR. DAVIS:

23          Q.   Good morning, Ms. Rollins.

24          A.   Good morning.



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                                                                  Page 90

1




                              REDACTED




15          A.   Okay.   So in terms of the time periods -- I'm

16      neuro divergent.     So for me to fix months and dates in

17      time in the past specifically is very difficult for me

18      without something to cross reference.

19          Q.   Okay.

20          A.   So that is the source of me not being sure about

21      when exactly.     Also, this was an ongoing process, and I

22      had to make several requests of different people because

23      my boss was changing so often.

24          Q.   Yep.



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                                                                 Page 221

1                          DEPOSITION ERRATA SHEET

2

3       Our Assignment No:      5896239

4       Case Caption:     Rollins vs. R Street

5

6                     DECLARATION UNDER PENALTY OF PERJURY

7                I declare under penalty of perjury that I have

8       read the entire transcript of my Deposition taken in the

9       captioned matter or the same has been read to me, and

10      the same is true and accurate, save and except for

11      changes and/or corrections, if any, as indicated by me

12      on the DEPOSITION ERRATA SHEET hereof, with the

13      understanding that I offer these changes as if still

14      under oath.

15               Signed on the________day of _____________2023

16

17      _____________________________________________

18                         LAUREN L. ROLLINS

19

20

21

22

23

24



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                                                                Page 222

1                           DEPOSITION ERRATA SHEET
2       Page No.____ Line No. ____ Change to:________________
3       _____________________________________________________
4       Reason for change: __________________________________
5       Page No.____ Line No. ____ Change to:________________
6       _____________________________________________________
7       Reason for change: __________________________________
8       Page No.____ Line No. ____ Change to:________________
9       _____________________________________________________
10      Reason for change: __________________________________
11      Page No.____ Line No. ____ Change to:________________
12      _____________________________________________________
13      Reason for change: __________________________________
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16      Reason for change: __________________________________
17      Page No.____ Line No. ____ Change to:________________
18      _____________________________________________________
19      Reason for change: __________________________________
20      Page No.____ Line No. ____ Change to:________________
21      _____________________________________________________
22      Reason for change: __________________________________
23      SIGNATURE:___________________________DATE:__________
24                     LAUREN L. ROLLINS


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                Federal Rules of Civil Procedure

                                Rule 30



   (e) Review By the Witness; Changes.

   (1) Review; Statement of Changes. On request by the

   deponent or a party before the deposition is

   completed, the deponent must be allowed 30 days

   after being notified by the officer that the

   transcript or recording is available in which:

   (A) to review the transcript or recording; and

   (B) if there are changes in form or substance, to

   sign a statement listing the changes and the

   reasons for making them.

   (2) Changes Indicated in the Officer's Certificate.

   The officer must note in the certificate prescribed

   by Rule 30(f)(1) whether a review was requested

   and, if so, must attach any changes the deponent

   makes during the 30-day period.




   DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

   ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

   THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

   2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

   OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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    COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

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as submitted by the court reporter. Veritext Legal
Solutions further represents that the attached
exhibits, if any, are true, correct and complete
documents as submitted by the court reporter and/or
attorneys in relation to this deposition and that
the documents were processed in accordance with
our litigation support and production standards.

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amended, with respect to Personally Identifiable
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